    Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 1 of 28 Pageid#:
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          charlottesville,VA 22902(Attn:J.Benjamin                                            02/11/2020@ 10:00a
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        ThefollowingprovisionsofFed.R.Civ.P.45areattached-Rule45(c),relating to theplaceofcompliance;
 Rule45(d),relatingtoyourprotectionasapersonsubjecttoasubpoena'
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                     U NITED STATES D ISTR ICT CO URT FO R TH E
                          W ESTERN DISTRICT O F W R GINIA
                                Charlottesville D ivision


      ELIZA BETH slxE s,SETH w lspEl-w Ev,
      MAltlssA BLAIR;àpltll-MuNla
      Mu cusMARTlx,NATALIERöMERO,
      CHELSEA Al-vAu oo,THOMAS
      BAKER andJOHN DoE,
                                  Plaintiffs,



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      NATIONAL SQCIALIST MOVEMENT,
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      EM PIRE,

                                 Defendants.




                              ATTACHM ENTTO SUBPOENA
Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 5 of 28 Pageid#:
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         Y OU ARE HEREBY COM M AN DED,pursuantto Rule 45 ofthe FederalRulesofCivil

  Procedure,to produce the docum entsand thingsin yourpossession,custody orcontrol,as

  designated herein,forinspection atthe officesofJohn B.Rottenborn,Esq.,atW oodsRogers

  PLC,123 EastM ain Street,5th Floor,Charlottesville,VA 22902,w ithin 14 days ofservice.

  There isa Protective Orderin thisaction thatperm itsyou to designate docum ents as

  Cdconfidential''oriçhighly confidential.'' Thissubpoena,including each individualRequestfor

  Documents(collectively,thettRequests'),shallbereadandinterpretedtorequestonly
  docum entsthatare notcovered by the attorney-clientprivilege orw ork productdoctrine,and in

  accordancew ith the FederalRules ofCivilProcedure and thedefinitions and instructions

  identified below .

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                 Nothing in the Requestsorthe subpoena to which they are attached should be

  construed to requestdocum entsprotected by theattorney-clientprivilege orw ork product

  doctrine.

         2.      The singularofeach w ord shallbeconstrued to include itspluraland vice-versa,

  thew ord Eçany''shallbe construed to include Sûall''and vice-versa,and the w ordsEtand''as wellas
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  'Eor''shallbeconstruedbothconjunctivelyanddisjunctively.
         3.      Thepresenttense shallbe construed to includethepasttense and vice-versa.

         4*      The term tûconcerning''m eans dtrelating to,''(ûreferring toj''dldescribinp ''

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         5.      Theterm sGtdocum ent''and t:docum ents''m eansal1item sw ithin the scope of

  Rules26 and 45 oftheFederalRulesofCivilProcedure,including butnotlim ited to,all

  originals,non-identicalcopiesanddraftsofanyelectronicallystoredinformation(::ESI''),


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Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 6 of 28 Pageid#:
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  orreproduced,including butnotlim ited to,any work-paper,correspondence,m em orandum ,

  note,research,checklist,opinion,m inutes,inter-office or intra-office com m unications,e-m ailor

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  everprintedoutordisplayed),photograph,microfiche,microfilm,videotape,recordormotion
  picture,andelectronic,mechanical,orelectricalrecordorrepresentationofanykind(including
  tape,cassette,disc,m agnetic card orrecording,computers,serversunderyourcontrol,personal

  digitalassistant,blackberry,cellphones,zipdrives,andfloppydiscs).SdDocumint''shallalso
  include thefile folders in w hich said docum entsare m aintained and any table ofcontents or

  index thereto;and copiesofdocum ents ofwhich the originalshave been destroyed pursuantto a

  docum entdestruction policy orotherwise.

         6.     Theterm sççelectronically stored inform ation''and ;$ES1''are defined to be

  synonym ous in m eaning and equalin scopeto theusage oftcelectronically stored information''in

  Rules26 and 45 oftheFederalRulesofCivilProcedure.

                Theterm sdtcom m unication''and tscom m unications''m ean the transm ittalof

  inform ation in the form offacts,ideas,inquiries,orotherw ise by any m eans,including in writing

  and electronically,and include any m essage,post,tweet,directm essage,chat,orm essage on any

  socialm edia platform .

         8.     Theterm dtsocialm edia''m eansany forum ,w ebsite,application,orothernetwork

  on which personscan create,share,com m unicate concerning,orcom m entupon any infonnation,

  orotherwise engage in socialnetworking. W ithoutlim iting the foregoing in any m anner,and by
Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 7 of 28 Pageid#:
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  w ay ofexam ple only,the follow ing are socialm edia platform s:com m entsectionsofw ebsites,

  Facebook,Discord,Reddit,lm gur,Snapchat,lnstagram ,Google+,zlchan,8chan,Tw itter,

  Tum blr,and instantm essaging program ssuch as Signal,W hatsApp,M essengef,Hangouts,or

  Skype.

         9.     (dFields''refersto Jam esAlex Fields,Jr.

         10.    The term ttu nite the RightEvent''isdefined asany event,rally,gathering,or

  m eeting planned orattended by som e ora1lnam ed Defendantsorothersto takeplace in

  Charlottesville,V irginia on August11 or 12,2017,including the m arch to and rally atthe

  Rotunda in the evening on August11,2017,and the planned rally atEm ancipation Park in the

  m orning on August12,2017.

         11.    The term (tcarAttack''m eanstheincidentin which Jam esFields drove hiscar

  into a crowd ofpedestrianson A ugust 12,2017.

         12.    The term 't egalProceeding''m eansany action,suit,litigation,arbitration,

  proceeding(includinganycivil,criminal,administrative,investigativeorappellateproceeding),
  hearing,inquiry,exam ination,orinvestigation com m enced,brought,conducted orheard by or

  before,orotherwise involving,any courtorotherGovernm entalBody orany arbitratoror

  arbitration panel,including Comm onwealth v.JamesAlex Fields,Jr.,Case N os.CR-17-000296-

  01toCR-17-000296-10(Va.Cir.Ct.)and UnitedStatesv.JamesAlexFieldsJr.,CaseNo.3:1b-
  CR-00011(W .D.Va.).
         13.    The term s'Cyou''and (tyour''includesJohn 1.Hill,PoindexterHill,P.C.,and any

  m em bers,shareholders,partners,officers,m anagers,employees,agents,orrepresentatives

  thereof.

                The term lsincluding''shallbe construed as'sincluding,butnotlim ited to.''
Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 8 of 28 Pageid#:
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                You should construe negative term sto include the positive,and vice-versa. For

  example,you should construe the w ord tEpreference''to m ean ççpreference orlack ofpreference.''

         16.    In producing docum ents,you are requested to producethe originalofeach

  documentrequested togetherwith a1lnon-identicalcopiesand drafts ofthatdotum ent. lfthe

  originalofany docufnentcannotbe located,a copy shallbe provided in lieu thereof,and shallbe

  legible and bound orstapled in thesam e m annerasthe original. In any circum stance in w hich

  an agreem entisreached to allow the production ofcopiesofdocum entsratherthan originals,

  you shallretain a1lofthe originaldocum entsforinspection orcopying throughoutthe penden'cy

  ofthiscase,anyappealts),andanyrelatedproceedings.
                Any alteration ofa responsive docum ent,including any marginalnotes,

  handwritten notes,underlining,date stamps,received stamps,endorsed orfiled stamps,drafts,

  revisions,m odifications,and otherversionsofa docum ent,is aresponsive docum entin its ow n

  rightand m ustbe produced.

         18.    Any referenceto a person thatisa businessentity,organization,unincorporated

  association,orsim ilarentity and isnotothelw ise detined includesthatperson'spredecessors

  (includinganypre-existingpersonthatatanytimebecamepartofthatentityaftermergeror
  acquisition),successors,parents,divisions,subsidiaries,affiliates,franchisorsandfranchisees;
  each otherperson,directly orindirectly ow ned orcontrolled by any ofthem ;and each

  partnershiporjointventuretowhichanyofthem isaparty;anda1lpresentand
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  ofticers,employees,agents,consultants,controllingshareholders(andanyentityownedbyany
  suchcontrollingshareholder)andàttorneysofanyofthem;andanyotherpersonactingfororon
  behalfofany ofthem .

                Documentsshallbeproducedeither(a)astheyarekeptintheusualcourseof
Case 3:17-cv-00072-NKM-JCH Document 648-1 Filed 02/10/20 Page 9 of 28 Pageid#:
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  w hose possession itw asfound orthe serverorcentralfile in w hich itw asfound,and theaddress

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  enum erated in these Requests,w ith such specitk Requestidentified. Docum entsattached to

  each othershould notbe separated.

         20.    lfidenticalcopiesofa docum entare in the possession,custody orcontrolofm ore

  than one naturalperson orotherdocum entcustodian,a copy ofthatdocum entshallbeproduced

  from each such naturalperson orotherdocum entcustodian.

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  the m essage,the sender,the recipient,and the date on w hich the m essagew as sent.

         22. lfyoutimelyobjecttoanyportionofaRequ'
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  a response to the rem aining portion.

                lfyou are unable to produce a docum entthatisresponsive to a Request,so state

  and indicatew hetherthe docum enteverexisted orwhetherthe docum entonce existed butcannot

  be located. Ifany responsive docum entoncew as,butisno longer,in yoùrpossession,custody

  orcontrol,state the whereaboutsofsuch docum entwhen lastin yourpossession,custody or

  control,state the date and m annerofitsdisposition and identify its lastknown custodian.To the

  extentthatany responsive docum entwaslostordestroyed,produce any docum entthatsupports'

  yourassertion thatthe docum entwaslostordestroyed,and provide the date when each such

  docum entw aslostordestroyed.

                Unlessotherw ise stated,thetim e period to w hich these Requestsreferisfrom
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        January 1,2015 to thepresent. lfany docum entisundated and the date ofitspreparation cannot

        be determ ined,the docum entshallbe produced ifotherw ise responsiveto any ofthe Requests.

               25.    TheseRequestsare continuing and require supplem entalresponsesin accordance

        withtherequirementsofFederalRuleofCivilProcedure26(e).

                                    D O CUM EN TSTO BE PR OD UCED

               1.     A 11docum ents located on,or extracted,im aged,copied,or otherw ise preserved

        from any electronic device thatatany time belonged to orw asin thepossession ofFields.
    '
               2.     A 1ldocuments concerning Fields's conduct and actions on A ugust 11-12,20l7,

        including hisparticipation in any Unite the RightEventand the CarAttack.

               3.     A lldocum ents and com m unications sentto orreceived from the United States of

        A m erica orthe Com m onw ealth ofV irginia concerning Fields,including any discovery m aterials

        related to any LegalProceedingsbetw een theU nited Statesorthe Com m onw ealth ofV irginiaand

        Fields.

               4.     A l1docum entsthatwere collected orpreserved in relation to any LegalProceeding

        concerning Fields,whetherornotthatevidence w asused in court.

               5.     A 1l docum ents created, shared, viewed, posted, sent, m odifed, or authored by

        Fieldsconcerning race,ethnicity,religion,violence,orany group thatprom otesw hite suprem acy

        orw hite nationalism .

               6.     A 1lphotographs,video recordings,or audio recordings concerning or depicting

        Fields,the CarA ttack,orany U nitetheR ightEvent.

               7.     A l1recordingsand transcriptsoftelephonecallsconcerning Fields,the CarA ttack,

        orany Unite the RightEvent,including callsto orfrom Fieldsduring hisdetention afterhisarrest
'
        in A ugust2017.


                                                       7
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          8.       A1ldocum entsobtained from any third party concem ing any UnitetheRightEvent,

   the Car Attack, or Fields including docum ents obtained from Google, Facebook, Instagram ,

   Tw itter,Discord,orany othersocialm ediaprovider.

          9.       A lldocum entscontaiùing orconcerning geolocation data relating to any Unite the

   Right Event,the CarA ttack,or Fields, including docum ents obtained from Google,Facebook,

   Instagram ,Tw itter,D iscord,orany othersocialm ediaprovider.

          10.      A 1ldocum ents or com m unications relating to statem ents m ade by or concerning

   Fields,whether m ade before orafter the CarA ttack,including statements concerning planning,

   preparing for,attending,orparticipating in any Unite the R ightEvent,the CarAttack,orFields's

   role therein.

          11.      A 1l docum ents constituting or concerning interview s of witnesses or law

   enforcem entpersonnelconcerning the CarA ttack,any U nitetheRightEvent,orFields,including

   transcripts,audio orvideo recordings,m em oranda,sum m aries,ornotes.

          12. A11documentsconcerninganyinjuriesordamagecausedbytheCarAttackorany
   U nite the RightEvent.

          l3.      A ll docum ents thatrequested in Plaintiffs' Requests for Production,attached to

   these RequestsasExhibit1.

   D ited:January 27,2020


                                                       /s/RobertT.Cahill
                                                       RobertT.Cahill(VSB 38562)
                                                       CO OLEY LLP
                                                       11951Freedom Drive', 14th Floor
                                                       Reston,VA 20190-5656
                                                       Telephone:(703)456-8000
                                                       Fax:(703)456-8100
                                                       rcahill@ cooley.com


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   New York,NY 10l18                    Fax:(202)237-6131
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    Suite 700                             Roanoke,V a.24011
   W ashington,DC 20004                   Tel:(540)983-7600
   Telephone:(202)842-7800                brottenborn@woodsrogers.com
   Fax:(202)842-7899                      eashwell@woodsrogers.com
   dmills@ cooley.com
   jsiegel@ cooley.com

                                          CounselforPlaintp




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                    E X H IB IT 1
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                             U NITED STATES DISTRICT CO UR T
                        FO R TH E W ESTERN DISTR ICT O FW R G IN IA
                                    Charlottesville Division

    ELIZABETH SlNE s,SETH w lspsl-w EY ,
    M AltlssA BLAIR ,TYLER M AG ILL,APRIL
    M uN Iz,H ANX AH pEu cs ,M u c'us
    M A RTlx ,N A TALIE Ro= Ro ,CHELSEA
    A t,vAltxoo ,and JOHN o oE,

                                 Plaintiffs,
    V.

    JA sox K ESSLER,RICHA RD spsx cER ,
    cllm srropHER CAN TU LL ,JA= s
    A LEX Fm t,o s,JR.,vu cluA.uo
    A M ERIC A ,AN DREw AN G LI'N,                     C ivilAction N o.3:17-cv-00072-N K M
    M oox BA sE HOLD I' N G s,LLc ,ROBERT
    ''AzzM ADo R''RA Y ,NA THAN DAM IGO,
    ELLIO T K LINE a/k/a/ELIM O SLEY ,
    ID EN TR Y EvRopA ,M ATTHEw                          PLAINTIFFS'ICORRECTEDI
    H EIM BA CH ,M ATTHEw PARROTT a/k/a                 FIRST SET OF REQUESTS FOR
    o Avlo M ATTHEw PA RROT T,                         PR O DU CTIO N OF D O CUM ENTS
    TRAD ITION ALIST w o lutER PARTY ,                      TO ALL D EFEND ANTS
    M ICHA EL H ILL,M ICH AEL TIJBB s,
    LEA GIJE oy THE so u'rH ,JEFF sciloEp,
    X ATIONA L so clAl-lsT M ovsM sx T ,
    NATIONALIST FRoxT,AuGusw ss6L
    m v lcw s,FRATERN A L ORDER oF THs
    ALT-U IGHTY MICHAEL ''ENOCH''
    PEINO VICH ,LOY AL W H ITE KN IGHTS OF
    THE KU K LU X KLAN ,and EA ST COA ST
    KN IGHTS OF TH E K U K l,ux K LAN a/k/a
    EA ST COA ST KN IGHTS OF THE TRUE
    INV ISIBLE EM PIRE,

                                 Defendants.


       PlzrsuanttoRules26 and 34 oftheFederalRulesofCivilProcedure(tTRCP''),Plaintiffshereby
requestthatD efendantsproducethe follow ing docum entsand tangiblethingsatthe officesofBoiesSchiller

FlexnerLLP,575LexingtonAvenue,New York,NY 10022,nolaterthantllirty(30)daysfrom serviceof
thisFirstSetofRequestsforProductionofDocuments(thettRequests'),llnlessotherwiseagreedbythe
partiesorrequired by any scheduling orderentered by the Courtin this action.
                                                  1
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      TheDefinitionsand Instructionsthatappearbelow form an integralpartoftheRequeststhatfollow

andmustbereadizzconjunctionwiththem andfollowedwhenrespondingtotheRequests.
                                           D EFIN ITIO N S

       In each Definition,the singtllarshallinclude thepluraland thepluralshallincludethesingular.

Tenusused herein shallhave the following m eanings:

              ttAm ended Com plaint''m eansthe nm ended complaintfled in theabove-captioned litigation

asECF docketentry num ber175.

       2.     Qtcom mtm ication''m eans,in addition to its custom ary and usualm eaning,every contactof

any nature,whetherdocum entary,electronic,wlitten ororal,fonnalorinform al,atany tim e orplace and

underany circtlm stanceswhatsoeverwhereby m
                                          ' form ation ofany natureistransm itted ortransferredby any

m eans, including, but not lim ited to letters, m em oranda, reports, em ails, textm essages, instant

m essages, socialm edia postings,telegram s, invoices, telephone conversations,voicem ailm essages,

audio recordings,face-to-face m eetings and conversations,orany otherform ofcorrespondence,and any

Docum entrelating to such contact,including butnotlim ited to correspondence,m em oranda,notesorlogs

of telephone conversations,e-m ail, electronic chats, text m essages,instant m essages, direct or private

m essages,correspondence in û<m eetups''orchatroom s,atld a11 other correspondence on SocialM edia.

W ithout lim iting the foregoing in any m anner,com m enting as well as any act of expression that is not

directedataspecifcperson,orothem isemaynotbeintendedtoprovokearesponse(suchasasocialmedia
posting,iilikes,''ttshares,''orany otherform ofreactingto another'suseofSocialM edia),areformsof
com m llnication.

              tc oncerning''m eans,in addition to itscustom ary and usualm enning,relating to,pertaining

to,referring to,alludingto,confixm ing,constituting,comprising,containing,com m entingupon,responding

to,discussing, describing, embodying, evaluating, evidencing, identifp'ng, in connection with,

involving,m entioning,noting,pertaining to,probative otlrelated to,relating to,reflecting,referring to,

                                                   2
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regarding,setting forth,supporting,stating,showing,touching upon,dealing with,assessing,recording,

bearingupon,connected with,inrespectof,about,indicating,memorializing?proving,suggesting,having

anything to do with,contradicting,and s'lm m arizing in any way,directly orindizectly,in whole orin part,

thesubjectmatterreferredtointheRequest.
              ûr ocllm ent''or (r ocum ents''m eans docum ents broadly defm ed in FRCP Rule 34,and

includes(i)papersofa11kinds,includingbutnotlimitedto,originalsandcopies,howevermade,ofletters,
m em oranda,hand-written notes,notebooks,w ork-pads,m essages, av eem ents,rough drafts, drawings,

sketches, pictures, posters, pamphlets, publications, news articles, advertisements, sales literature,

brochures,announcements,bills,receipts,creditcardstatements,and(ii)non-paperinformationofallkinds,
including but not lim ited to, any com puter generated or eleckonic data such as digital videos,digital

photoraphs,audiorecordings,podcasts,Intemetfles(includingE<bookmarks''andbrowserhistory),online
articlesandpublications,websitecontent,electronicmail(e-mail),electronicchats,instantmessages,text
m essages,uploads,posts,statusupdates,com m ents,itlikes'' E'shares'' directm essages,orany otheruseof

SocialM edia,and(iii)anyotherwritings,records,ortangibleobjectsproducedorreproducedmechnnically,
elecd cally,electrorlically,photov aphically,or chem ically. W ithoutlim iting the foregoing in any w ay,

every Com m llnication isalso a Docum ent.

       5.     ddEvents''m eans the occurrences and activities descdbed in Paragraphs 45 to 335 of the

Am ended Com plaint.

       6.     itperson''m eans a naturalperson or individual,and any corporation,partnership,lim ited

liability company, tm incorporated association, governm ental body or agency, or any other fonn of

organization,group,orentity.

       7.     ttsocialM edia''m eansany forum ,w ebsite,application,orotherplatfonn on which persons

can create,transm it,share,com municate concenling,orcom m entupon any inform ation,ideas,oropinions,

orotherwise engage in socialnetworking. W ithoutlim iting the foregoing in atly m arm er,and by way of
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    exampleonly,the following are socialm ediaplatform s: com m entsectionsofwebsites,Facebook,Discord,

    Reddit, lm gur, Snapchat, Instagram , Google+, 4chan, 8chan, Twitter, Tumblr, Youtube, alld instmzt

    m essaging serdces such as Sir al,W hatsApp, M essenger,H angouts, or Skype.W ithout lim iting the

    foregoing in any m anner,and by wgy of exam ple only,the following are m ethods ofusing socialm edia

    platforms:uploading,posting,commentitlg,reacting(e.g.,E<liking''apost),andshadng.
           8*     tt
                   Y ou;'' KfYour>'' or KtYotlrs'' refers to the Defendants to whom the Intepogatodes are

    addressed and includesany personsorentitiesacting forthem oron theirbehaltlincludingbutnotlimited
    to allrepresentatives,servants,agents,em ployees,officers,affiliates,subsidiaries,parentcom parlies,third

    parties,attom eys,aswellasany entitiesoverwhich any ofthe Defendantshave control.

.                                             INSTR UCTIO NS

           A.     TheseRequestsare issued to each D efendant,and each individualDefendantm ustfully

    respond,search forand produce al1Docum entsand Com m unication responsive to these Requests.

           B.     Yourresponsesto the follow ing Requejtsshallbebased on a11knowledge and

    information(whetherornothearsayoradmissible)inyourpossession,custody,orcontrol.
           C.     TheseRequestsare continuing in nature. If,afterm aking inhialresponses,D efendants

    obtain orbecom e aware ofany furtherD ocum entsresponsive to the Requests,D efendantsare required

    tosupplementtheirresponsesandprovidesuchDocumentspursuanttoFRCP Rule26(e).
           D.     lf,in responding to any ofthe following Requests,you encounterany am bigtlity or

    confusion in construing eithera Requestor aD efinition orInstruction relevantto aRequest,setforth

    them atterdeem ed am biguous,selectareasonable interpretation thatyou believeresolvesthe

    am biguity,respond to theRequestusing thatinterpretation,and explain w ith particularity the

    construction orinterpretation selected by you in responding to the lnterrogatoly.

           E.     In theeventany docum entorinform ation is withheld on thebasis ofthe attom ep client

    pdvilege,w ork productdoctrine,orany otherl'
                                               ightto non-disclosure on any otherbasis,funlish a list

                                                       4
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identifying thù docum ents,com m unications,orinform ation forw hich theprotection is claim ed together

withthefollowing(ifapplicable):thetypeofdocumentorcommurlication;thedateordatesofthe
docum entorcom m unication;thenam e,position and addressofeach person who participated in the

docum entorcom m unication,to whom the docum entorcom m unication w asaddressed,orto w hom the            .

docum entorcom m unication orthe contentsthereofhave been com m uë cated by any m eans;the general

subjectmatterofthedocument,communication,orinformation;thespecificbasisfornonproductionor
non-disclosure;and a description thatyou contend isadequateto supportyourcontention thatthe

docum ent,com m llnication,orinform ation m ay be witllheld from production and/ordisclosure.lfa

docum entorcom m llnication iswithheld on the ground ofattorney work product,also specify w hether

the docum entorcom m unication w asprepared in anticipation oflitigation and,ifso,identify the

anticipatedlitijationts)uponwhichtheassertionisbased.
       F.     IfYouobjecttoproductioninresponsetoaspecificrequest,Youshallstatewith
particularitythebasisfora1lobjectionswithrespecttosuchrequest.You shouldrespondtoa1lportions
ofthatrequestthatdonotfallwitllinthescopeofYourobjection.IfYouobjecttoaRequestonthe
ground thatitisoverly broad,provide such docum entsthatarew ithin the scopeofproduction thatYou

believeisappropriate.IfYouobjecttoaRequestonthegroundthattoprovideresponsivedocuments
would constitute an tm due burden,provide such responsive docum entsasY ou believe can be supplied

withoutundertaking an undueburden.

       G.     W hetherornotYouobject,Youmustpreservea1lDocumentsandCommunications
relevantto the law suit,including a11Docum entsand Com m unicationsresponsive to theseRequests.

You m ustalso preselvea11hardw are,software and 1og filesrelated to databases'
                                                                             ,servers;archives;

backup orrecovery disks,filesand servers;networks orcomputersystem sincluding legacy system s;

m agnetic,opticalorotherstoragem edia,including hard drives and otherstoragem edia;laptops;

personalcom puters;personaldigitalassistants'
                                            ,handheld wirelessdevices;m obile telephones'
                                                                                        ,paging

                                                   5
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devices;and audio system s,including ipods.You m usttake every rèasonable step to presenre tllis

inform ation untilthe finalresolution ofthism atter.Thisincludes,butisnotlim ited to,discontinuing all

datadestruction and baokup recyclingpolicies;preserving and notdisposing relevanthardw areunless

an exactrèplica ofthe file ism ade;preserving and notdestroying passwords;encryption and

accom panying decryption keys;network accesscodes,including login nam es'
                                                                        ,decom pression or

reconstruction software;m aintaining a11otherpertinentinform ation and toolsneeded to access,review ,,

and reconstm cta11requested orpotentially relevantelectronically stored inform ation and data. W here

anyalterationsordeletionsofanyofthedocume'
                                         ntsanddatarequestedbythesubpoenahavebeen
madesinceAugust11,2017,Youshouldprovidea1ogdetailinkanychangesanddeletions,the
individualwho m ade those changesand deletions,and thepurpose forwhich the changes and deletions

were m ade.


       H.      Produce a11responsive docum entsin Yourpossession,custody,orcontrol,regardlessof

whethersuch docum ents arepossessed directly by Y ou orpersonsunderYotlrcontrol,including Y our

agents,em ployees,representatives,orattom eys,ortheiragents,em ployees,orrepresentatives. To the

extentthatyou do nothave copiesofcom m unicationsm ade orreceived by you thatareresponsive to

theserequests, you m ustprovide the consentnecessary underthe Stored Com municationsAct,sec 18

U.S.C.j2702(b)(3),topermittheprovidersofelectroniccommllnication servicesandremote
computingserdces,see18U.S.C.j2702(a)(1)-(2),toproducethedocuments.
       1.      Produce each responsive docum entin itsentirety including with a1lattachm entsorother

m atters affixed thereto.

               Each D ocum entproduced in responseto these Requests shallbe produced in accordance

with the specificationsdescribed in ExhibitA attached hereto,orasagreed by the partiesorordered by

the Court.


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       K.     Referencesto any naturalperson shallbe deem ed to include thatnattlralperson'sagents,

servants,representatives,currentand fonnerem ployees,and successors.

       L.     Referencestoanynon-naturalperson(e.g.,corporation,partnership,entity,membership
organizations,etc.)shallbedeemedtoincludethatnon-naturalperson'spredècessors,successors,
divisions,subsidiades,pr ents,assigns,partners,m em bers,and affiliates,foreig'n ordom estic,each

otherperson directly orindirectly,w holly orin part,ow ned by,controlled by,orassociated w ith them ,

and any othersacting orpurporting to acton theirbehalfforany reason,and the presentand form er

officers,directors,partners,consultants,representatives,servants,em ployees,assigns,attom eys,and

agentsofany ofthem .

       M      Theuseo'fthesingularform ofanyworèincludesthepluralandviceversa.
       N.     Theuse ofthepasttense includesthe presenttense and vice versa,asnecessary to bring

within the scopeofeach requestal1responsesthatm ightothem ise be considered outside itsscope.

W heneveraterm isusedhereininthepresent,past,future,subjunctive,orothertense,voice,ormood,
itshallalso be construed to include allothertenses,voices,orm oods.

       0.     ThetermsKtand''andttor''shouldbeconstruedeitherdisjunctivelyorconjunctivelyas
necessary to bring w ithin the scope ofthediscovery requestal1responses thatm ightotherwisebe

construed to be outside ofits scope.

       P      The w'
                   ord $<a11''m eans Kdany and al1'''thew ord (lany''m eansdiarly and al1''

       Q.     Theterm tlincluding''meanstiincluding,withoutlimitation.''
       R.     The m asculineincludesthe fem inine and neutralgenders.         .

       S.     Unlessotherwise specified,thetim eperiod to wllich these Requestsreferisfrom January

1,2015 to the present. If any docum entisundated and the date ofitspreparation carm otbe determ ined,

the docum entshallbeproduced ifothelw ise responsiveto any oftheRequests.



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                                     DO C UM EN T R EO UESTS
R EQUEST FOR PRODUCTION N O.1:
      A11Docum entsand Com m unicationsconcem ing theEvents,including withoutlim itation a11
docum entsand com murlications:
              concem ing any preparation,planning,transportation to,orcoordination for,the Events,
              including receipts,bills and creditcard statem entsreflecting costsfortransportation,
              lodging,apparel,gear,orany otherm aterialpurchased forthe Events;
              concerning any instm ctionsorcoordination relating to the Events,including security
              details,whatto w ear,whatto bring,w hen to m eet,w here to m eet,whatto say,and any
              otherlogisticalinformation orarrangem ents;
              thatare SocialM ediadocum entsconcerning the Events;
              you created during the Events,including SocialM edia,textm essages,video,and
              photographs'
                         ,
              concem ing A gican Am ericans,Jew ish individuals,orotherreligious,racial,oretbnic
              m inoritiesthatrelatein any w ay to the Events;
              concerning any stàtem entoraction attributed to Y ou in the Am ended Com plaint;or

       vii. conceminganyallegationofan altercation,violentact,injury,orinstanceofintimidation
              orharassm entthatoccurred during the Rally,including butnotlim ited to Jnm esFields'
              vehicularincident'
                               ,or
      viii. concerning any funding ofthe Events,including fortransportation,housing,food,
              weapons,urliforms,signage,tilcitorches,orotherm aterialsorservices used in

              connectionwiththeEvents(ortheplanningthereog..
R EQUEST FOR PRODUCTION N O.2:

      A 11D ocum ents and Com m unicationsconcerning events,m eetings,rallies,conferences,or

conversationsheld priorto the Eventsthatrelate to the Eventsin any way.




                                                  8
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R EQUEST FOR PRODUCTION NO.3:

       A l1D ocum ents concerning and a11Com m unicationsconcerning orw ith EastCoastKnightsof

theKuKluxKlan(orEastCoastKnightsoftheTrueInvisibleEmpire),FraternalOrderoftheAlt-
Knights,IdentityEuropa(orldentityEvropa),LeagueoftheSouth,LoyalW hiteKnightsoftheKu
KluxKlan(orLoyalW hiteKnightsChurchofthehwisibleEmpire1nc.),M oonbaseHoldings,LLC,
NationalistSocialistMovement,NationalistFront(orAryanNationalAlliance),TraditionalistW orker
Party,V anguard A m erica,orany such othersocialgroup ororganization thathaj aspartofits agenda a

racial,religious,orethnicobjective.

REQUEST FOR PRODUCTION NO.4:

       A llD ocum entsand Com m llnicationsconcerning violence,intim idation,orharassm entof

Persons on the basisofrace,religion,or ethnicity,including butnotlim ited to,ethnic cleansing,wllite

genodde,a whiteethno-state,or any otherform oflarge orsm allscaleviolence.

R EQUEST FOR PRODUCTION NO.5:

       Forany SocialM edia accountY ou had from January 1,2015,to thepresent:

              D ocum entsand Com munication sufticientto show the accounthom epage,and a11uses

              ofSocialM ediaforthataccountthatreferenceorconcern the EventsorD efendantsin

              any w ay.

        ii.   Docllm entsand Com m unication sufficientto show a11Yourltfriends''and/orttsocial

              colm ections''m aintained on Youraccount,including theirnam es,addresses,and social

              network usem am esorhandles.




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    REQUEST FOR PRODUCTION NO.6:
                         l

           A l1Docum entsconcem ing and a1lCom m unicationsconcenzing orwith any Plaintiffor

    Defendant(otherthanYou)namedintheAmendedComplaint,andanyotherPersonwhoattended,
    p1alm ed orw as involved in the Events.                         '

    R EQUEST FOR PRODUCTION N O.7:

           Al1D ocum entsand Com m ui cationsconcelming any lawsuits,claim s ofviolence,or arrests
                                   Q
    relating to orarising outofracially,ethnically,orreligiously m otivated conductby Y ou orany

    D efendantnam ed in the Am ended Complaint.

    R EQUEST FOR PRODUCTION NO.8:

           Al1D ocum entsand Com m ullicationsconcerning the stepsyou have taken to preserve

    D ocum ents and Com municationsrelevantto thelawsuit,including the D ocum entsand Com m unications   .

    responsiveto these Requests.




       D ated: Jalw ary 25,2018
?              N ew York N Y

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                                         EX H IBIT A

1.   PRO D UCTION FO R M A T

     a)    Toavoidtheproductionofmorethanonecopyofauniqueitem,useindustrystandard
           M D 5 orSH A-Ihash valuesto de-duplicate al1filesidentified forproduction. Loose e-
           fileswillnotbecom pared to em ailattachm entsfor de-duplication purposes. Hard copy
           documentscontaininglkandwrittennoteswillnotbeconsideredasduplicativeofanyother
           docum ent.

     b)    W heredocumentswithattachmentsareproduced,theywillbeattachedinthesame
           m annerasincluded in the odginalfile. W here docum entsare produced and al1
           attachm entsthereto arenqtincluded,identify the m issing attachm entsby m eansofa
           tdplace holder''file,and explain the reason fortheirnon-production. D ocum entsthatare
           segregated orseparated from otherdocum ents,whetherby inclusion ofbinders,files,
           dividers,tabs,clipsorany otherm ethod,w illbe produced in am nnnerthatreflectsthese
           divisions. Ifany portion ofa docum entisresponsive,the entire docum entshould be
           subm itted. Do notredactany non-privileged contentfrom any docum entabsenta
           separate agreem ent.

           Productionsshouldbedeliveredonanextemalharddrive,CD,DVD,orviaFTP (orother
           secureonlinetransfer).IfadeliveryistoolargetofitonasingleDVD,theproduction
           should be delivered on an extem alhard drive orviaFTP upon a/reem entw ith
           D efendants.                                                -      '

     d)    DocumentsshallbeproducedasBates-stampedtaggedimagetileformat(<$TIFF'')images
           accom panied by an im ageload file,a dataload file w ith fielded m etadata,docum ent-level
           extractedtextforESI,andopticalcharacterrecognition($$OCR'')textforscannedhard
           copy docum ents and ESIthatdoes notcontain extractable text. D etailed requirem ents,
           including tilesto be delivered in native form at,arebelow .

     e)    TFFImageRequirements
           a.     TIFF im ageswillbeproduced in black and w hite,300x300 dpiGroup IV single-
                  page formatand should be consecutively Bates-stamped.

           b.     Im agesw illinclude the following contentwherepresent:

                         Forwordprocessingtiles(c.g.,M icrosoftW ordl:Comments,tdtracked
                         changes,''and any sim ilarin-line editing orhidden content.

                  ii.    Forpresentationfiles(c.g.,MicrosoftPowerpoint):Speakernotes,
                         com m ents,and a11otherhidden content.

                         Forspreadsheetfiles(ag.,M icrosoftExcell:Hiddencolumns,rows,and
                         sheets,com m ents,Sctracked changess''and any sim ilarin-line editing or
                         hidden content.

     9     NativeProductionRequirements
                                               12
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           a.    Spreadsheetfiles@.g.,MicrosoftExceland .csvfiles)andpresentationfiles(e.g.
                 MicrosoftPowerpoint)shouldbeprovidedinnativefonuat.
                        In lieu ofa fullTIFF im age version ofeach native file,a singieplaceholder
                        im age bearing therelevantbatesnumber and confidentiality designation
                        should beproduced.

                 11.    W hen redaction isnecessary,aredacted fu11TIFF version m ay be
                        produced provided thatthe docum entism anually form atted foroptim al
                        printing. Ifthe file requiring redaction isnotreasonably useable in TIFF
                        form at,thepartiesw illm eet-and-conferto determ inea suitable production
                        form at.

                        Ifredactionsw ithin a native file are necessary,thepartiesw illm eet-and-
                        conferpriorto productions and provide a m eansto identify such
                        docum entsin the production.

           b.    Mediafiles(ag.,.mp3,.wmv,etc.)willbeproducedinnativeformat.
           C.    Thepartiesw illm eet-and-conferto discuss a suitableproduction form atforany
                 proprietary ornon-standard tile typesthatrequire specialsoflw areortechnical
                 know ledge forreview .

           d.    Thepartieswillnieet-and-conferto discuss a suitableproduction form atforany
                 databases ordatabase reports.

           e.    Any filesthatcarm otbe accurately rendered in a review ableTIFF form atshould
                 beproduced in native form at.

           f.    Defendantsreservetherightto requestnativeorcolorcopiesofany docum ents
                 thatcannotbe accurately reviewed in black and white TIFF form at. Reasonable
                 requests fornative orcolordocum entsshould notbe refused.

     g)    Load FileRequirem ents

           a.    A Concordance com patible data load file should beprovided w ith each production
                 volllm e and contain aheaderrow listing a11ofthe m etadata fieldsincluded in the
                 production volum e.

           b.    Im age load filesshould beproduced in Concordance/opticon com patible form at.

     h)    Exkacted TeXVOCR Requirem ents

           a.    Electronically extracted textshould beprovided fordocum ents collected from
                 electronic sources. Textgenerated via O CR should beprovided fora11docum ents
                 thatdonotcontainelectronicallyextractabletext(ag.,non-searchablePDF files
                 andJPG images)andforredactedandhardcopydocuments.Donottodegrade
                 the searchability ofdocum enttextaspartofthe docum entproduction process.

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           b.    Docum enttextshould beprovided asseparate,docum ent-leveltextfiles and not
                 be em bedded in them etadataload file.

                 Textfilesshould be nam ed according to the begirm ing batesnum berofthe
                 docllm entto which they correspond.

           d.    Ifa docum entisprovided in nativeform at,the textfile should contain the
                 extracted textofthenative file.

                 A path to each extracted textfileon thedelivery mediashouldbeincluded in a
                 load file tield,orin a separate cross-referencqfile.

     i)    ProduceallmetadatafieldslistedinAppendix 1ifavailable.




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                                                     APPENDIX 1
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         BegBates      Beginning Batesnumber
         EndBates      Ending Batesnumber
         BegAttach     Batesnumberofthe firstpageofafamily range
         EndAttach     Batesnumberofthe lastpage ofafarnily range
         Pagecotmt     Numberofpagesin aDocum ent.
         FileExtension Originaliile extension asthe documentwasm aintained in the ordinary
                                 course
         Filesize                Filesizein bytes
         D ocrritle              Documenttitle asstored infilemetadata
         Custodian               Custodian fullname
         Author                  Documentauthorinformation fornon-email
         From                    EmailFROM
         To                      EmailTO
         Cc                      Em ailCC
         BCC                     EmailBCC
         Subject                 EmailSubject
         Attachments             Nameofattachedtiletslasmaintainedintheordinaryéotlrseofbusiness

         D atecreated            Filedatecreated M M /DD/YYY Y
         D ateM oditied          Filedatemodified M M /DD
         D atesent               Em aildatesentM M /DD
         Tim esent               Em ailtimesentHH:M M :SS AM /PM
         D ateReceived           Em aildatereceivedM M /DD/YY YY
         Tim eReceived           Emailtimereceived HH:M M :SS AW PM
         FileN nm e              N ame ofthefile asmaintained in theordinary courseofbusinesswith
                                 extension

         M Dsl-lash              Thecomputer-generated M D5Hash valueforeach document
         Nativepath              Thepath to thenative-formatfile corresponding to each record on thç
                                 deliverymedia,includingtheflename(ifanative-formatfileisprovided)

         Textpath                Thepath to the correspondingtextfileforeach record on the delivery
                                 media,including filename




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